                   Case 2:08-cr-20042-RTD Document 39                                                     Filed 12/29/09 Page 1 of 6 PageID #: 96
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